                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISON

SUSAN BACS and
JESSICA ROUBERT,

      Plaintiffs,
v.                                    CASE NO.: 8:21-cv-2852-TPB-TGW

CAPITAL ONE FINANCIAL
CORPORATION,

    Defendant.
_____________________/

                SWORN DECLARATION OF SUSAN BACS
      1.    My name is Susan Bacs. I am over eighteen years old.

      2.    I am willing and able to serve as the Class Representative in this case.

      3.    As indicated in the COBRA class action that I, as a proposed Class

Representative, filed against the Defendant, I believe that my COBRA coverage

election notice and the COBRA coverage election notice receive by other employees

during the statutory four years preceding the filing of my complaint, violated my

rights under the Consolidated Omnibus budget Reconciliation Act of 1985

(“COBRA”), as well as the rights of the other Class Members.

      4.    Because the circumstances of my COBRA coverage election notice are

similar to those of the other Class Members, I believe the factual and legal issues

bearing on my COBRA claim and the COBRA claims of the Class Members are

basically the same.




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      5.     I am eager and willing to prosecute this action on behalf of the Class

Members. I have actively assisted my lawyers throughout this litigation, including

by providing my input with respect to the allegations in the Complaint and First

Amended Complaint, and also by responding to requests for documents and

information. I will continue to actively assist my counsel in the prosecution of this

action.

      6.     I have no conflict of interest with any Class Members.

      7.     The law firms of Wenzel Fenton Cabassa, P.A.—including attorneys

Luis A. Cabassa and Brandon J. Hill—have vigorously prosecuted the COBRA

claims in this action. I believe the firm is well-qualified to serve as class counsel.

      8.     I have personal first-hand knowledge of the following facts. I am also

familiar with the facts set forth herein and, if called upon to do so, I could and

would testify competently to them.

      9.     I worked for Capital One Financial Corporation, (“Defendant” or

“Capital One”), for almost six (6) years from January 2013 through 2018, in

Florida.

      10.    During my employment with Capital One, I was a participant in

Defendant’s health and dental plan. At the time of my separation my spouse and

child were also participants in Defendant’s health and dental plan.

      11.    I was abruptly terminated in November 2018 and, ultimately, given a

COBRA coverage election notice in November 2018. However, the information



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provided was confusing, lengthy, and omitted my end date of COBRA coverage if

elected, and any explanation of the continuation coverage termination date for me.

      12.   On December 4, 2018, I received the COBRA coverage election notice,

attached as Exhibit A.

      13.   The COBRA coverage election notice was confusing and lengthy and

the only personalized information relating to me and my employment or health

benefits with Capital One was contained within the first four pages. The remaining

twelve pages appeared to be generic information about COBRA but not specific as

it applied to me or my loss of health insurance.

      14.   A week after I was terminated, but before receiving the COBRA

Notice, I contacted a call center provided to me by Defendant’s Human Resources

to get more information about COBRA. The representative only told me about the

cost of continuing the health benefits I had for my entire family, including myself,

my spouse, and my two children. I was shocked by the cost and stated my husband

would have to cancel his appointments that were already scheduled for December.

The representative did not tell me I could choose to continue only my husband’s

insurance and did not provide to me the cost to continue only my husband’s

insurance. In fact, the only information provided to me by the representative was

the cost for our whole family and where to find insurance on the marketplace.

      15.   Due to my termination, I lost my livelihood as well as my health

benefits. In fact, my family, including myself, my husband, and my child, went

without health insurance for December 2018. My husband and child have chronic

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health conditions. My husband had to cancel previously scheduled appointments

in December as we tried to make an informed decision on how to proceed. I also

suffered medically because despite being able to run a five kilometer race in

November, I could barely walk by January due, in part, to not being able to afford

healthcare.

      16.     My abrupt termination was devastating to me financially and

emotionally. I incurred higher costs for health insurance for me and my children

after my termination. For instance, the cost difference between my families’

insurance with Capital One and my families’ insurance through my spouse

increased by $717.54 per month.

      17.     In view of the foregoing, I request that my Motion for Class

Certification and Appointment of Class Counsel be granted.


     I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.


Dated this 3rd day of August, 2022.         _____________________
                                            SUSAN BACS




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